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10                              IN THE UNITED STATES DISTRICT COURT
11                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION
13

14       UNITED STATES OF AMERICA,                  Case No.: CR 2018–392 CRB
15                        Plaintiff,                DEFENDANT’S RESPONSE TO THE
                                                    GOVERNMENT’S MOTIONS IN
16                v.                                LIMINE
17       NICHOLAS BEYER,
                                                    PRETRIAL CONFERENCE
18                        Defendant.
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     MOTION TO DISMISS
     BEYER, CR 2018–392 CRB
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 1
                                             INTRODUCTION
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            Defendant Nicholas Beyer submits this response and objection to the government’s
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     three motions in limine. See ECF No. 46.
 4         I.     The government fails to identify with specificity any of the records it seeks to
 5                admit, which include many irrelevant, immaterial, and prejudicial matters.
           The court should deny the government’s motion in view of its failure to identify the
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     relevant records with specificity. There are hundreds of pages of documents from the Federal
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     Aviation Administration (FAA), the Department of Veterans Affairs (VA), and the medical
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     offices of Dr. Stuart Bussey, that have been produced in this case. The government’s motion,
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     however, fails to identify a single specific document by Bates number that it seeks to admit and
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     instead appears to request blanket admission of these materials. The documents include large
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     volumes of highly confidential personal and medical information concerning Mr. Beyer which
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     is irrelevant, immaterial, and prejudicial. For example, the VA documents include Mr. Beyer’s
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     medical records spanning approximately a decade of service in the Navy. These records
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     consist primarily of private information about Mr. Beyer’s physical health that has no relevance
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     whatsoever to this case. The government’s broad assertion that all of these documents are self-
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     authenticating under Federal Rule of Evidence 902(11), and qualify as business records under
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     Rule 803(6), does not render them admissible because they may include multiple levels of
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     hearsay, as well as matters that are inadmissible because they are irrelevant, immaterial, and/or
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     prejudicial. Similarly, the FAA documents include, for example, subject matter test results for
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     Mr. Beyer on flight operations, maneuvering, plane maintenance, and other matters that are
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     completely irrelevant. The government’s general assertion that these documents are self-
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     authenticating under Federal Rule of Evidence 902(1) also does not render them admissible—
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     again, because hearsay, relevance, materiality, and prejudice may still be contested. The same
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     problems arise with the government’s effort to admit documents from Dr. Bussey’s offices. In
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     sum, the government’s effort to admit all of these materials wholesale should be denied without
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     prejudice. Mr. Beyer will of course meet and confer with the government concerning specific
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     materials on its exhibit list, but the present motion is fatally overbroad.
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 1         II.      The motion should be denied as premature; the defense is entitled to voir dire
                    Dr. Northrup prior to admission of her testimony under Rule 702.
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            Although Mr. Beyer disputes Dr. Susan Northrup’s conclusions, he does not generally
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     object to the relevance of her proposed testimony, provided it is limited to the matters set forth
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     in the government’s motion in paragraphs 1-6. That said, Mr. Beyer reserves his right to voir
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     dire Dr. Northrup regarding her credentials. If the government prefers to call Dr. Northrup to
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     be so questioned at the pretrial conference, then the Court might be in a position to consider the
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     government’s motion on the merits. Without such an opportunity, however, the government’s
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     motion is premature and should be denied without prejudice.
 9        III.    The defense does not intend to comment on any potential sentence or
10                punishment.
            The government asks the Court to prevent the defense from making any reference to Mr.
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     Beyer’s potential sentence. The defense does not intend to make any such references before
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     the jury. However, the government’s assertion that the defense may not mention that this case
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     “has serious consequences” for the defendant (i.e., a conviction on his record), or that the jury’s
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     function is to protect Mr. Beyer’s “liberty,” is without merit. Such references are not about any
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     potential sentence or punishment, but rather serve to inform the jury of their role, and ensure
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     that the jurors take that role seriously.
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                                                 CONCLUSION
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19           For all the foregoing reasons, Mr. Beyer respectfully requests that the Court deny the

20   government’s motions in limine.

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                                                          Respectfully submitted,
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23               Dated: December 20, 2019                 STEVEN G. KALAR
                                                          Federal Public Defender
24                                                        Northern District of California

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                                                                    /S
26                                                        DAVID W. RIZK
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